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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

[a] Original Plan
| Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: JEFFREY SNYDER JOINT DEBTOR: NOILYN SNYDER CASE NO.: 20-11469-RAM
SS#: xxx-xx- 0589 SS#: xxx-xx-7457
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: | The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

The valuation of a secured claim, set out in Section II, which may result in a :

partial payment or no payment at all to the secured creditor * [m] Included L] Not included
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [] tmetuded [M] Not included
out in Section II

Nonstandard provisions, set out in Section VIII [m] Included [-] Not included

 

 

 

Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $1,176.64 formonths 1 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [_] NONE [_] PRO BONO
Total Fees: $6225.00 Total Paid: $2000.00 Balance Due: $4475.00
Payable $745.83 /month (Months 1 to 6 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$4,500.00 + $150.00 + $775.00 + 525.00 + $525 = $6,475.00

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Til. TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [~] NONE

[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
1. Creditor: Okeechobee County Tax Collector

 

 

 

Address: 307 NW 5 St Arrearage/ Payoff on Petition Date $1,944.31
Okeechobee, FL 34972 Arrears Payment (Cure) $10.00 /month (Months 1 to_6_ )
Last 4 Digits of Arrears Payment (Cure) ____ $53.75. /month (Months 7 ‘to _60_ )
Account No.: 1127
Other:

 

 

 

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[_] Real Property Check one below for Real Property:

[_ Principal Residence [_JEscrow is included in the regular payments

[mjOther Real Property [m) The debtor(s) will pay [mijtaxes [[ insurance directly
Address of Collateral:

17281 NW 250 St
Okeechobee, FL 34972

[_] Personal Property/Vehicle

 

 

Description of Collateral:

B. VALUATION OF COLLATERAL: [7] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-3.

1. REAL PROPERTY: [_] NONE

 

 

 

1. Creditor: Be a Man Buy Land LLC Value of Collateral: $23,255.79 Payment
Address: 4260 SE Federal Hwy Amount of Creditor's Lien: $63,621.27 _ | Total paid in plan: $25,227.96
Stewart, FL 34997

Last 4 Digits of Account No.: 8271 Interest Rate: 3.25% $175.00 _/month (Months _1 to 6 )
$447.74 /month(Months 7 to 60 )

Real Property Check one below: To

[_ |Principal Residence [_] Escrow is included in the monthly

[mi] Other Real Property mortgage payment listed in this section

[m] The debtor(s) will pay:

Address of Collateral:
17281 NW 250 St [m]taxes [insurance directly
Okeechobee, FL 34972

 

 

2. VEHICLES(S): [7] NONE

 

 

1. Creditor; Marine One Acceptance Value of Collateral: __ $13,700.00 _ Payment
Address: 5000 Quorum Drive Amount of Creditor's Lien: $15,173.00 _ | Total paid in plan: $15,606.60
Dallas, TX 75254
Last 4 Digits of Account No.: 2638 Interest Rate: 5.25% ___ $100.00 _/month (Months _1 to 6 )
VIN: $277.90 /month (Months _7 to 60)

 

Description of Collateral:
2016 Jay Flite RV

 

Check one below:

cain incurred 910 days or more pre-
petition

rClaim incurred less than 910 days pre-
petition

 

 

 

 

 

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2. Creditor: Onemain Value of Collateral: $3,074.00 Payment
Address: POB 1010 Amount of Creditor's Lien: $8,491.00 __| Total paid in plan: $3,502.26
Evansville, IN 47706
Last 4 Digits of Account No.: 0214 Interest Rate: 5.25% $18.65 /month (Months _lto 6)
VIN: $62.84 __/month (Months _7 to 60 )

 

Description of Collateral:
2007 Chevrolet Silverado

 

Check one below:

fwClaim incurred 910 days or more pre-
petition

pcan incurred less than 910 days pre-
petition

 

 

 

 

3. PERSONAL PROPERTY: [ii] NONE
C. LIEN AVOIDANCE [ii] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
[gi] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

[-] NONE
[Mi] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon

confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

 

 

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
! Susan M Horne Trustee N/A 19616 Canal Dr

Summerland Key, FL 33042
IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [i] NONE

B. INTERNAL REVENUE SERVICE: [7] NONE

 

 

 

Total Due: $2,500.00 Total Payment $2,500.26
Payable: $10.00 /month (Months 1 to 6 )
Payable: $45.19 /month (Months 7 to 60 )

 

 

C. DOMESTIC SUPPORT OBLIGATION(S): [i] NONE
D. OTHER: [ii] NONE

Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $171.56 /month (Months 7 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar datc.

B. [[] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [ii] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[1] NONE

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[-] Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Collateral Acct. No. (Last 4 Digits) Assume/Reject
William Mora 2014 Honda Civic N/A
1. [m] Assume [—] Reject

 

VII. INCOME TAX RETURNS AND REFUNDS: [-] NONE

[i] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

VII. NON-STANDARD PLAN PROVISIONS [-] NONE

[@] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

The forst payment under the plan is due on March 3, 2020.

 

["] Mortgage Modification Mediation

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

Debtor February 18, 2020 Joint Debtor February 18, 2020
JEFFREY SNYDER Date NOILYN SNYDER Date
MICHAEL A. FRANK February 18, 2020
Attorney with permission to sign on Date

Debtor(s)! behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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